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                           Exhibit 2
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 NATIONAL WILDLIFE REFUGE                     )
 ASSOCIATION, et al.                          )
                                              )
        Plaintiffs,                           )
                                              )
 v.                                           )
                                              )
 The UNITED STATES ARMY CORPS                 ) Case No. 1:22-cv-03498-JDB
 OF ENGINEERS, et al.                         )
                                              )
        Defendants,                           )
                                              )
 and                                          )
                                              )
 TWIN PINES MINERALS, LLC,                    )
                                              )
        Intervenor-Defendant.                 )

                           DECLARATION OF WILLIAM SAPP

I, William Sapp, declare as follows:

       1.      My name is William Sapp. I am a senior attorney at the Southern Environmental

Law Center and the chair of the Okefenokee Protection Alliance.

       2.      The Okefenokee Protection Alliance is a coalition of more than 60 organizations

representing millions of members across the country that have joined forces to protect the

Okefenokee National Wildlife Refuge from the proposed Twin Pines mine and other threats that

jeopardize the integrity of the Okefenokee Swamp.

       3.      Since July 2019, many of the Okefenokee Protection Alliance organizations have

provided online platforms for their members to submit written comments concerning the

proposed mine to the U.S. Army Corps of Engineers, the Georgia Environmental Protection

Division, and other state and federal decisionmakers.
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       4.      With the assistance of my colleagues at the Southern Environmental Law Center,

I have collected information on the number and geographic origin of comments from each of the

Okefenokee Protection Alliance organizations that used online comment platforms capable of

tracking this information.

       5.      To date, Okefenokee Protection Alliance organization members have submitted

almost 200,000 comments in opposition to the proposed mine.

       6.      These comments were generated from all fifty states and at least twelve countries.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       This 18th day of May, 2023.



                                             William Sapp
